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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                          CASE NO: 9:18-cv-81448-SINGHAL


  JENNIFER TUNG, Individually and on Behalf
  of All Others Similarly Situated,

        Plaintiff,
  v.

  DYCOM INDUSTRIES, INC., STEVEN E.
  NIELSEN and ANDREW DEFERRARI,

        Defendants.
  ______________________________________/


                LEAD PLAINTIFF’S UNOPPOSED MOTION FOR
         PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT AND
           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
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         Lead Plaintiff the Boston Retirement System (“Lead Plaintiff”), on behalf of itself and the

  proposed Settlement Class, hereby moves this Court for an Order pursuant to Federal Rule of Civil

  Procedure 23: (i) preliminarily approving the proposed Settlement; (ii) preliminarily certifying the

  Settlement Class and appointing Lead Plaintiff as Class representative and Lead Counsel as Class

  Counsel, for purposes of settlement; (iii) approving the form, content and manner of providing

  notice to the Settlement Class; (iv) setting a hearing date to consider final approval of the

  Settlement, approval of the Plan of Allocation, and Lead Counsel’s motion for an award of

  attorneys’ fees and litigation expenses (the “Settlement Hearing”); (v) appointing A.B. Data, Ltd.

  as the Claims Administrator to administer the notice and claims process; and (vi) granting such

  other and further relief as the Court may deem fair and proper.1

         This motion is based on the accompanying Memorandum of Points and Authorities and the

  Declaration of Guillaume Buell, dated June 26, 2020, with annexed exhibits, filed herewith. A

  proposed Order, which was negotiated by the Parties to the Settlement, is also submitted as Exhibit

  A to the Stipulation. Defendants do not oppose the relief requested in this motion.

                                  PRELIMINARY STATEMENT

         Lead Plaintiff respectfully submits that the Settlement is a very favorable result for the

  Settlement Class, and the Court should preliminarily approve it. The Settlement provides a

  recovery of $9,500,000 in cash to resolve claims against Defendants Dycom Industries, Inc.
  (“Dycom,” or “the Company”), Steven E. Nielsen, and Andrew DeFerrari (the “Individual

  Defendants,” and with Dycom, “Defendants”) in the Action. Lead Plaintiff seeks preliminary

  approval of the Settlement so that notice may be provided to the Settlement Class and the

  Settlement Hearing can be scheduled. In light of conditions related to COVID-19, Lead Plaintiff

  would not oppose allowing parties that wish to do so to participate in the Settlement Hearing by



  1
          All capitalized terms not otherwise defined herein have the same meaning as those in the
  Stipulation and Agreement of Settlement, dated as of June 25, 2020 (the “Stipulation”), filed
  herewith as Exhibit 1 to the Declaration of Guillaume Buell (“Buell Decl.”). All exhibits
  referenced below are attached to the Buell Declaration.


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  telephone or video conference. See In re Coronavirus Public Emergency, Administrative Order

  2020-24, ¶8 (S.D. Fla. Apr. 3, 2020).

         Lead Plaintiff respectfully submits that the Settlement warrants preliminary approval given

  that it is the result of vigorous arm’s-length negotiations by experienced counsel overseen by a

  well-respected Mediator, represents a favorable recovery that falls well within the range of

  approval, and meets the factors required by Federal Rule of Civil Procedure 23(e).

         Entry of the proposed Preliminary Approval Order will begin the process of considering

  final approval by authorizing notice of the Settlement to members of the Settlement Class. A final

  Settlement Hearing will then be conducted, after the Settlement Class has been given an

  opportunity to object or seek exclusion, so that the Court can make a final determination as to

  whether the Settlement is fair, reasonable, and adequate.

                       FACTUAL AND PROCEDURAL BACKGROUND

  I.     PROCEDURAL HISTORY OF THE CASE

         On October 25, 2018, the above-captioned securities class action (the “Action”) was filed

  in the United States District Court for the Southern District of Florida on behalf of all investors

  who purchased or otherwise acquired Dycom common stock between November 20, 2017, and

  August 10, 2018, inclusive. On October 30, 2018, a similar action captioned Possick v. Dycom

  Industries, Inc., et al., No. 9:18-cv-81480 (the “Possick Action”) was also filed in this Court,

  seeking the same relief.

         On January 10, 2019, the Court issued an Order consolidating the Possick Action with this

  Action and ordered all future filings to be in this Action. On January 11, 2019, the Court issued an

  Order: (i) appointing the Boston Retirement System as Lead Plaintiff for the proposed class; and

  (ii) appointing Levi & Korsinsky LLP and Thornton Law Firm LLP as Lead Counsel, and Cullin

  O’Brien Law, P.A. as Liaison Counsel.

         On March 13, 2019, Lead Plaintiff filed an Amended Class Action Complaint, alleging

  violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (“Exchange Act”),




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  and United States Securities and Exchange Commission (“SEC”) Rule 10b-5 promulgated

  thereunder, against Defendants, on behalf of itself and all other persons similarly situated who

  purchased or otherwise acquired Dycom common stock between November 20, 2017, and August

  10, 2018, inclusive.

         Defendants filed a motion to dismiss the amended complaint on April 19, 2019, which

  Lead Plaintiff opposed on May 20, 2019. On June 3, 2019, Defendants filed a reply brief in further

  support of their motion. On January 8, 2020, with leave of the Court, Lead Plaintiff filed the

  operative pleading, the Second Amended Class Action Complaint (the “Complaint”). On January

  22, 2020, Defendants filed a motion to dismiss the Complaint, which Lead Plaintiff opposed on

  February 5, 2020. On February 12, 2020, Defendants filed a reply brief in further support of their

  motion.

         On April 14, 2020, the Court denied Defendants’ motion to dismiss.

  II.    NEGOTIATION AND TERMS OF THE PROPOSED SETTLEMENT

         On May 1, 2020, Lead Plaintiff and Defendants engaged in a full-day mediation session

  before retired District Court Judge Layn Phillips, Esq., a well-respected and highly experienced

  mediator. In advance of that session, the parties submitted detailed opening mediation statements

  to the Mediator, together with supporting exhibits. The parties were able to reach an agreement in

  principle to settle the claims against Defendants, resulting in a memorandum of understanding that

  the parties referred to as a “term sheet,” entered into on May 3, 2020. The Parties subsequently

  negotiated the terms of the Stipulation of Settlement, which sets forth the final terms and conditions

  of the Settlement, including, among other things, a release of all claims asserted against Defendants

  in the Action, and related claims (“Released Claims”), in return for a cash payment by Defendants

  of $9,500,000 in cash (the “Settlement Amount”) for the benefit of the Settlement Class.

                                             ARGUMENT

  I.     STANDARDS FOR PRELIMINARY APPROVAL OF THE SETTLEMENT

         “Public policy strongly favors the pretrial settlement of class action lawsuits.” In re




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  HealthSouth Corp. Sec. Litig., 572 F.3d 854, 862 (11th Cir. 2009) (quoting In re U.S. Oil & Gas

  Litig., 967 F.2d 489, 493 (11th Cir. 1992)).2 “In determining whether to approve a proposed

  settlement, the cardinal rule is that the District Court must find that the settlement is fair, adequate

  and reasonable and is not the product of collusion between the parties.” In re Sunbeam Sec. Litig.,

  176 F. Supp. 2d 1323, 1329 (S.D. Fla. 2001). “In making this determination, this Court should

  always review the proposed settlement in light of the strong judicial policy that favors settlements.”

  Id.

          Federal Rule of Civil Procedure 23(e) requires court approval for any class action

  settlement. This motion for preliminary approval of the Settlement is the first step to final approval,

  whereby the parties “provide the court with information sufficient to enable it to determine whether

  to give notice of the proposal to the class.” Rule 23(e)(1)(A). Giving notice of the settlement to

  the class is justified by providing information “showing that the court will likely be able to: (i)

  approve the proposal under Rule 23(e)(2); and (ii) certify the class for purposes of judgment on

  the proposal.” Rule 23(e)(1)(B). To avoid serving notice of an obviously deficient settlement,

  courts engage in a two-step approach, ruling on a preliminary approval motion prior to determine

  whether to disseminate notice and hold a final approval hearing. See Sunbeam, 176 F. Supp. 2d at

  1328 (noting preliminary approval granted, and engaging in more detailed analysis at final

  approval stage); Bennett v. Behring Corp., 737 F.2d 982, 985-86 (11th Cir. 1984) (noting two-step
  process for approving class action settlement). The preliminary approval motion requires the Court

  to determine whether: (1) the settlement has any obvious deficiencies; (2) the settlement is within

  the range of reasonableness; and (3) notice to the class is warranted. In re Checking Account

  Overdraft Litigation, 275 F.R.D. 654, 661 (S.D. Fla. 2011) (“Preliminary approval is appropriate

  where the proposed settlement is the result of the parties’ good faith negotiations, there are no

  obvious deficiencies, and the settlement falls within the range of reason.”); Fresco v. Auto Data



  2
          In the interest of brevity, unless otherwise noted, all internal quotations, brackets, and
  citations are omitted from citations to case law.


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  Direct, Inc., 2007 WL 2330895, at *4 (S.D. Fla. May 14, 2007) (“A proposed settlement should

  be preliminarily approved if it is within the range of possible approval or, in other words, there is

  probable cause to notify the class of the proposed settlement”). After preliminary approval, the

  class is notified of the settlement and the final fairness hearing. Checking, 275 F.R.D. at 662.3

         Rule 23(e)(2) lists criteria for evaluating the adequacy of a settlement, requiring a review

  of the likelihood that: (a) Lead Plaintiff and Lead Counsel adequately represented the class; (b) the

  Settlement was negotiated at arm’s-length; (c) the relief provided to the class is adequate, taking

  into account: (i) the costs, risks and delays of trial and appeal; (ii) effectiveness of any proposed

  method of distributing relief to the class; (iii) terms of any proposed award of attorneys’ fees; and

  (iv) any agreement required to be identified under Rule 23(e)(3);4 and (d) the proposal treats class

  members equitably relative to each other.

         As discussed below, the proposed Settlement readily satisfies the Rule 23(e)(2) factors and

  the Settlement Class is appropriate for certification such that the Settlement should be preliminary

  approved, and the Settlement Class should receive the Notice of the Settlement.




  3
          In the second step, the court will determine whether to grant final approval of the
  settlement. The factors to consider at that stage are: (1) the likelihood of success at trial; (2) the
  range of possible recovery; (3) the point on or below the range of possible recovery at which a
  settlement is fair, adequate, and reasonable; (4) the complexity, expense, and duration of litigation;
  (5) the substance and amount of opposition to the settlement; and, (6) the stage of proceedings at
  which the settlement was achieved. Bennett, 737 F.2d at 986; Canupp v. Liberty Behavioral Health
  Corp., 417 Fed. App’x 843, 845 (11th Cir. 2011).
  4
          Rule 23(e)(2)(C)(iv) requires the disclosure of any agreement in connection with a
  proposed settlement. Here, on May 3, 2020, the Parties entered into a term sheet, and, as of June
  25, 2020, they entered into the Stipulation of Settlement and a confidential Supplemental
  Agreement Regarding Requests for Exclusion (the “Supplemental Agreement”). The
  Supplemental Agreement sets forth the conditions under which Dycom has the discretion to
  terminate the Settlement if requests for exclusion from the Settlement Class exceed a certain
  agreed-upon threshold. As is standard in securities settlements, the Supplemental Agreement is
  kept confidential in order to avoid incentivizing the formation of a group of opt-outs for the sole
  purpose of leveraging a larger individual settlement. Pursuant to its terms, the Supplemental
  Agreement may be submitted to the Court in camera or under seal. The Supplemental Agreement,
  Stipulation, and memorandum of understanding are the only agreements concerning the Settlement
  entered into by the Parties.


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   II.    NOTICE IS WARRANTED AS THE SETTLEMENT IS FAIR, REASONABLE,
          AND ADEQUATE PURSUANT TO RULE 23(e)(2)

          A.      Lead Plaintiff and Lead Counsel Adequately Represented the Settlement
                  Class

          The Boston Retirement System was appointed Lead Plaintiff after a finding that they were

   the “most adequate plaintiff” to represent the proposed Settlement Class. See Dkt. 29. Lead

   Plaintiff is a sophisticated institutional investor with substantial experience leading numerous

   securities class actions. Throughout the Action, Lead Plaintiff also benefited from the advice of

   knowledgeable counsel well-versed in shareholder class action litigation and securities fraud cases.

   Levi & Korsinsky LLP and Thornton Law Firm LLP are experienced and skilled firms in the

   securities litigation field, and each has a long and successful track record in such cases. See Buell

   Declaration Exhibits 2-3 (firm resumes). Both firms have experience serving as counsel in a

   number of high profile and influential cases. Id.

          Lead Counsel vigorously litigated the Action since its inception. Lead Counsel, among

   other things: (i) conducted a thorough investigation that included the review of publicly available

   information regarding the Company and interviews of former employees and third parties; (ii)

   prepared two amended complaints; (iii) opposed two motions to dismiss; (iv) analyzed

   Defendants’ mediation statement and exhibits; (v) analyzed documents produced by Defendants

   in connection with the mediation; and (vi) consulted with experts concerning damages, valuation,

   and loss causation. Lead Counsel successfully defeated Defendants’ motion to dismiss. Prior to,

   and over the course of the litigation, Lead Counsel explored the strengths and weaknesses of the

   claims and defenses and developed a deep understanding of the merits of the claims.

          The Settlement was reached only after mediated negotiations between counsel with

   extensive knowledge and expertise litigating securities fraud class actions. At the conclusion of

   this process Lead Counsel believe that this is a fair and reasonable settlement. See, e.g., In re

   NVIDIA Corp. Derivative Litig., 2008 WL 5382544, at *4 (N.D. Cal. Dec. 22, 2008)
   (“[S]ignificant weight should be attributed to counsel’s belief that settlement is in the best interest




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   of those affected by the settlement.”); Lake v. First Nationwide Bank, 900 F. Supp. 726, 732 (E.D.

   Pa. 1995) (“Significant weight should be attributed to the belief of experienced counsel that

   settlement is in the best interest of the class.”).

             B.     The Settlement Was Negotiated at Arm’s-Length

             Courts have long recognized that there is an initial presumption that a proposed settlement

   is fair and reasonable when it is the product of arms-length negotiations. Bennett, 737 F.2d at 987,

   n.9 (affirming approval of settlement and noting district court’s conclusion that “the settlement has

   been achieved in good faith through arms-length negotiations and is not the product of collusion

   between the parties and/or their attorneys”); In re Portal Software, Inc. Sec. Litig., 2007 WL

   1991529, at *6 (N.D. Cal. June 30, 2007). The use of an experienced mediator is an important

   factor supporting a finding that this requirement is satisfied. Here, Lead Plaintiff and Lead Counsel

   agreed to settle after rigorous lengthy litigation and through a mediation process overseen by a

   highly regarded and experienced mediator, retired Judge Layn Phillips. See, e.g., Florida Educ.

   Ass’n v. Dept. of Education, 2019 WL 8272779, at *3 (N.D. Fla. Nov. 4, 2019) (granting

   preliminary approval and noting that the settlement agreement was reached “during arm’s length

   negotiations at mediation facilitated by … a highly skilled and experienced mediator”) (collecting

   cases).

             C.     The Relief Provided by the Settlement Is Adequate
                    1.      This Settlement Is Well Within the Range of Reasonableness

             The $9.5 million Settlement Amount presents a favorable recovery when compared to the

   median settlement value in securities class action settlements in 2019, which was reported by

   Cornerstone Research to be $11.5 million. See Laarni T. Bulan and Laura E. Simmons, Securities

   Class Action Settlements – 2019 Review and Analysis at 1 (Cornerstone Research 2020), attached

   as Exhibit 4 to the Buell Declaration. The Settlement Amount is nearly three times the size of the

   median settlement for cases that are less than two years old ($3.3 million), and higher than the

   median amount for cases between two and three years old ($7.9 million). Id. The Settlement




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   Amount is also significantly higher than the median settlement dollars for cases where the court

   has ruled on the motion to dismiss (which is $5.4 million).

          Moreover, the Settlement provides a favorable recovery as a proportion of estimated class

   wide damages. Lead Plaintiff’s damages expert estimated that if liability were established with

   respect to all of the claims, including for the two alleged corrective disclosures, the most

   reasonable estimate of aggregate damages recoverable at trial was $165.8 million, taking into

   account the exclusion of pre-Class Period gains.           Accordingly, the Settlement recovers

   approximately 5.7% of aggregate damages likely recoverable at trial. Had the case proceeded,

   Defendants likely would have argued for disaggregation of potentially confounding factors on both

   of the alleged corrective disclosures. Defendants also would have argued that Dycom’s stock price

   reacted to timely disclosed financial results unrelated to the alleged fraud – financial results that,

   when disaggregated, significantly reduce the amount of alleged damages. If these arguments

   prevailed at class certification, summary judgment, or trial, the Settlement Class could have

   recovered significantly less or, indeed, nothing. Since the passage of the Private Securities

   Litigation Reform Act of 1995 (“PSLRA”), courts have approved settlements that recovered a

   similar, or smaller, percentage of maximum damages. See, e.g., Thorpe v. Walter Investment

   Management Corp., 2016 WL 10518902, at *10 (S.D. Fla. Oct. 17, 2016) (approving settlement

   of 5.5% of maximum possible recovery).
          The Settlement is also reasonable because it provides the Settlement Class, whose claims

   have been pending since 2018, with a prompt and substantial tangible recovery, without the

   considerable risk, expense, and delay of litigating to completion. Though Lead Plaintiff believes

   it could have succeeded in establishing each of the elements of the alleged claims, Defendants

   would likely have sought summary judgment and there was no guarantee that the proposed class

   would prevail against Defendants’ continuous challenges and, even if they did, how the Court’s

   rulings would affect damages or how the case would be presented to the jury. Regarding falsity,

   Defendants would have argued that a number of the statements alleged to be false and misleading




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   were non-actionable forward-looking statements protected by the Safe Harbor of the PSLRA, that

   a number of statements were not false in any respect, that certain statements were inactionable

   corporate puffery, and that other statements constituted “opinion” statements that could not be

   shown to be false or misleading. With respect to scienter, Defendants would argue that Lead

   Plaintiff would not be able to prove that any Defendant knowingly made statements with the

   required intent to defraud or with severe recklessness, especially because they believed they

   adequately informed the market that the various projections they provided came with obvious and

   disclosed limitations. Furthermore, Defendants would have argued that the problems the Company

   faced were issues of timing of revenue recognition and that the quarter following the close of the

   Class Period, the Company exceeded analyst estimates, arguably providing an opposing inferences

   of scienter on the part of Defendants.

          These risks aside, additional discovery would have been protracted and the trial of Lead

   Plaintiff’s claims would inevitably be long and complex, and even a favorable verdict would

   undoubtedly spur a lengthy post-trial and appellate process. See, e.g., Florida Ed. Ass’n, 2019 WL

   8272779, at *3 (at final approval, noting that “the litigation is complex, has been protracted,

   already having consumed almost two years, and if not settled likely will go on for considerable

   additional time (including appeals) at substantial additional expense”).

                  2.      The Effective Process for Distributing Relief

          The Settlement will be effectuated with the assistance of an experienced claims

   administrator, A.B. Data Ltd. The Claims Administrator will employ a well-established protocol

   for the processing of claims in a securities class action. Potential class members will submit, either

   by mail or online using the Settlement website, the Court-approved Claim Form. Based on the

   trade information provided by claimants, the Claims Administrator will determine each claimant’s

   eligibility to participate and calculate their respective “Recognized Claim” based on the Court-

   approved Plan of Allocation. See Stipulation ¶1.24. Lead Plaintiff’s claims will be reviewed in the

   same manner. Claimants will be notified of any defects or conditions of ineligibility and be given




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   the chance to contest rejection. Any claim disputes that cannot be resolved will be presented to the

   Court for a determination.

          After the Settlement reaches its Effective Date (see Stipulation ¶1.7) and the passing of all

   applicable deadlines, Authorized Claimants will be issued checks. After an initial distribution of

   the Net Settlement Fund, if there is any balance remaining in the Net Settlement Fund (whether by

   reason of tax refunds, uncashed checks or otherwise) after at least six (6) months from the date of

   initial distribution of the Net Settlement Fund, Lead Counsel shall, if feasible and economical after

   payment of Notice and Administration Expenses, Taxes, and attorneys’ fees and expenses, if any,

   redistribute such balance among Authorized Claimants who have cashed their checks in an

   equitable and economic fashion. Once it is no longer feasible or economical to make further

   distributions, any balance that still remains in the Net Settlement Fund after re-distribution(s) and

   after payment of outstanding Notice and Administration Expenses, Taxes, and attorneys’ fees and

   expenses, if any, shall be contributed to the American Red Cross, a non-sectarian, not-for-profit

   charitable organization serving the public interest designated by Lead Plaintiff and approved by

   the Court. See Stipulation ¶3.24.

                  3.      The Anticipated Attorneys’ Fees and Expenses Are Reasonable

          As set forth in the Notice, Lead Counsel intends to request attorneys’ fees of no more than

   29% of the Settlement Fund and litigation expenses of no more than $350,000, which may include

   an application for reimbursement by the Lead Plaintiff pursuant to the PSLRA. From 2009 through

   2013, the average fee in the Eleventh Circuit was 30% and the median fee was 33%. Eisenberg,

   Miller & Germano, Attorneys’ Fees in Class Actions: 2009–2013, 92 N.Y.U. L. REV. 937, 947,

   951 (2017); Brian T. Fitzpatrick, An Empirical Study of Class Action Settlements and Their Fee

   Awards, 7 J. EMPIRICAL LEGAL STUD. 811, 836 (2010) (finding, in the Eleventh Circuit for 2006–

   2007 period of the study, the average fee was 28.1% and the median fee was 30%). Courts routinely

   approve awards of attorneys’ fees that are higher. See, e.g., Dukes v. Air Canada, 2020 WL

   496144, at *1 (M.D. Fla. Jan. 30, 2020) (approving attorneys’ fees and costs representing 33.3%




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   of settlement fund); Hanley v. Tampa Bay Sports & Entm’t LLC, 2020 WL 2517766, at *6 (M.D.

   Fla. Apr. 23, 2020) (awarding fee larger than 1/3 of the common settlement fund and noting that

   “district courts in the Eleventh Circuit routinely approve fee awards of one-third of the common

   settlement fund”) (collecting cases).

          The basis of Lead Counsel’s fee and expense request will be detailed in their upcoming

   motion requesting fees and expenses.

          D.      Settlement Class Members Are Treated Equitably Relative to One Another

          The Plan of Allocation, drafted with the assistance of Lead Plaintiff’s damages expert, is a

   fair, reasonable, and adequate method for allocating the proceeds of the Settlement among eligible

   claimants and treats all Settlement Class Members equitably, as required by Rule 23(e)(2)(D).

   Each Authorized Claimant, including Lead Plaintiff, will receive a pro rata distribution pursuant

   to the Plan, and Lead Plaintiff will be subject to the same formula for distribution of the Settlement

   as other class members. See Borcea v. Carnival Corp., 238 F.R.D. 664, 673-73 (S.D Fla. 2006)

   (approving as fair and reasonable settlement formula with pro rata distribution to class members).

   III.   PRELIMINARY CERTIFICATION OF THE SETTLEMENT CLASS

          As part of the Settlement, Lead Plaintiff respectfully requests that the Court preliminarily

   certify the proposed Settlement Class (as defined in ¶1.34 of the Stipulation).

          A.      The Settlement Class Meets the Requirements of Rule 23(a)

                  1.      Rule 23(a): Numerosity

          Rule 23(a)(1) requires that a class be so numerous that joinder of all members is

   impracticable. In securities litigation, courts regularly find the numerosity requirement satisfied

   with respect to purchasers of nationally traded securities. See In re Scientific-Atlanta, Inc. Sec.

   Litig., 571 F. Supp.2d 1315, 1325 (N.D. Ga. 2007). Here, throughout the Class Period, Dycom

   common stock traded actively on the New York Stock Exchange (“NYSE”) under the ticker

   symbol “DY.” As of May 21, 2018, there were 31,194,881 shares of common stock outstanding.
   See Complaint ¶372. These shares were purchased by thousands of investors, making joinder




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   impracticable. See Cox. v. Am. Cast Iron Pipe Co., 784 F.2d 1546, 1553 (11th Cir. 1986) (“while

   there is no fixed numerosity rule, generally less than twenty-one is inadequate, more than forty

   adequate….”).

                   2.     Rule 23(a)(2): Questions of Law or Fact Are Common

          Rule 23(a)(2) requires the existence of “questions of law or fact common to the class.”

   FED. R. CIV. P. 23(a)(2). A “common” issue is one that may be proved through the presentation of

   generalized proof applicable to the class as a whole. In re Netbank, Inc. Sec. Litig., 259 F.R.D.

   656, 664 (N.D. Ga. 2009) (citing Murray v. Auslander, 244 F.3d 807, 811 (11th Cir. 2001)). “The

   Eleventh Circuit has described this provision as requiring only that the claims actually litigated in

   the suit ... simply be those fairly represented by the named plaintiffs, noting that Rule 23 does not

   require that all the questions of law and fact raised by the dispute be common.” Id. In this case,

   the central questions of whether Defendants’ statements regarding Dycom’s customer contracts

   and permitting processes were false and misleading, and whether Defendants acted with the

   requisite mental state, are the same for all class members.

                   3.     Rule 23(a)(3): Lead Plaintiff’s Claims Are Typical

          Rule 23(a)(3) requires Lead Plaintiff’s claims to be “typical” of the class’s claims. The

   typicality requirement seeks to ensure that a representative plaintiff possesses the same interest

   and has suffered the same injury shared by all members of the class he represents. Netbank, 259

   F.R.D. at 665. Rule 23(a)(3) does not require plaintiffs to show that their claims are identical on

   every issue to those of the class, but merely that significant common questions exist. Id. A factual

   variation will not render a class representative's claim atypical unless the factual position of the

   representative markedly differs from that of other members of the class. Id.

          Here, Lead Plaintiff’s claims are typical of those of the Settlement Class. Like other class

   members, Lead Plaintiff purchased Dycom common stock during the Class Period, and claims to

   have suffered damages.




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                  4.      Rule 23(a)(4): Lead Plaintiff Is An Adequate Representatives

          Rule 23(a)(4) is satisfied if “the representative Parties will fairly and adequately protect the

   interests of the class.” FED. R. CIV. P. 23(a)(4). “The adequacy of representation prerequisite of

   Rule 23 requires that the class representatives have common interests with the non-representative

   class members and requires that the representatives demonstrate that they will vigorously

   prosecute the interests of the class through qualified counsel.” Scientific-Atlanta, 571 F. Supp. 2d

   at 1331. Here, as mentioned above, Lead Plaintiff is a sophisticated institutional investor that has

   and will continue to represent the interests of the Settlement Class fairly and adequately. There is

   no antagonism or conflict of interest between Lead Plaintiff and the proposed Settlement Class.

   Lead Counsel also have extensive experience and expertise in complex securities litigation and

   class action proceedings throughout the United States. Lead Counsel are well qualified and able to

   conduct the Action, and have ably and effectively represented Lead Plaintiff and the proposed

   Settlement Class throughout the Action.5

          B.      The Settlement Class Meets the Requirements of Rule 23(b)(3) –
                  Predominance and Superiority

          The predominance inquiry “tests whether proposed classes are sufficiently cohesive to

   warrant adjudication by representation.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623

   (1997); Scientific-Atlanta, 571 F. Supp. 2d at 1336 (citing same). The predominance requirement

   is “readily met” in securities class actions. Id at 625. Here, common questions of law and fact

   predominate over individual questions because Defendants’ alleged fraudulent statements and

   omissions affected all Settlement Class Members in the same manner (i.e., through public

   statements made to the market and documents publicly filed with the SEC).

          Moreover, class-wide reliance is established in this Action through the application of

   Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972), because the claims asserted



   5
           Accordingly, Lead Counsel satisfy the Class Counsel requirements of Rule 23(g) and have
   already been approved by the Court to represent the class pursuant to 15 U.S.C.§ 78u-
   4(a)(3)(B)(v). See Dkt. No. 29.


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   against Defendants are predicated upon omissions of material fact which there was a duty to

   disclose, or alternatively the “fraud-on-the-market” presumption of reliance in Basic Inc. v.

   Levinson, 485 U.S. 224, 241-42 (1988). Application of Affiliated Ute or Basic dispenses with the

   requirement that each Settlement Class Member prove individual reliance on Defendants’ alleged

   misstatements or omissions. See id. Here, where Dycom’s common stock is traded on the NYSE,

   a national securities exchange, and was followed by numerous securities analysts and traded at

   regular substantial volumes, there is sufficient evidence of market efficiency. See Complaint ¶372.

          Further, resolution of this case through a class action is far superior to litigating (and

   settling) thousands of individual cases where the expense for a single investor would likely exceed

   its losses. See Scientific-Atlanta, 571 F. Supp. 2d at 1344 (in securities class action, determining

   that certifying a class “superior to any other method of adjudication”).

   IV.    NOTICE PROGRAM SATISFIES RULE 23, DUE PROCESS, AND THE PSLRA
          REQUIREMENTS

          Rule 23(c)(2)(B) requires notice of the pendency of the class action to be “the best notice

   practicable under the circumstances.” FED. R. CIV. P. 23(c)(2)(B). Due process does not require

   that class members actually receive notice; instead, notice need only be “reasonably calculated,

   under all the circumstances, to apprise interested parties of the pendency of the action and afford

   them an opportunity to present their objections.” Lee v. Ocwen Loan Servicing, LLC, 2015 WL

   5449813, at *4 (S.D. Fla. Sept. 14, 2015).

          Lead Counsel proposes to provide Settlement Class Members notice by: (i) individual first-

   class mailing of the long-form Notice, addressed to all Class Members who can reasonably be

   identified and located, using information provided by Dycom’s transfer agent, as well as

   information provided by third party banks, brokers, and other nominees about their customers who

   may have eligible purchases; (ii) publication of the Summary Notice in Investor’s Business Daily;

   and (iii) dissemination of the Summary Notice on the internet using AccessWire. See Ocwen, 2015

   WL 5449813, at *4 (finding similar procedures for notice constitute the best notice practicable).
   The Notice will also be accessible on the Settlement website and Lead Counsel’s websites. This



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   proposed notice program is the “gold standard” in securities cases because of the availability of

   name and address data for potential class members from third-party banks, brokers, and nominees.

          In addition to the proposed methods of providing notice, the form and substance of the

   notice program are also sufficient. The proposed forms of notice describe the terms of the

   Settlement; the considerations that caused Lead Plaintiff and Lead Counsel to conclude that the

   Settlement is fair, adequate, and reasonable; the maximum attorneys’ fees and expenses that may

   be sought; the procedure for requesting exclusion from the Settlement Class, objecting, and

   submitting claims; the proposed Plan of Allocation; and the date and place of the Settlement

   Hearing.

          The long-form Notice also satisfies the PSLRA’s separate disclosure requirements by, inter

   alia, stating: (i) the amount of the Settlement determined in the aggregate and on an average per

   share basis; (ii) that the Parties do not agree on the amount of damages that would be recoverable

   by Lead Plaintiff; (iii) that Lead Counsel intend to make an application for an award of attorneys’

   fees and expenses (including the amount of such fees and expenses determined on an average per

   share basis); (iv) the name, telephone number, and address of a representative of Lead Counsel

   who will be available to answer questions; and (v) the reasons why the Parties are proposing the

   Settlement. See 15 U.S.C. § 78u-4(a)(7)(A)-(F).

          Lead Plaintiff also requests that the Court appoint A.B. Data as the Claims Administrator
   to provide all notices approved by the Court to Settlement Class Members, to process Claim Forms,

   and to administer the Settlement. See Exhibit 5 to Buell Declaration (A.B. Data resume).

          In connection with preliminary approval of the Settlement, the Court must set a Settlement

   Hearing date, dates for mailing the Notice and publication of the Summary Notice, and deadlines

   for requesting exclusion from the Settlement Class, objecting, filing motions in support of final

   approval and attorneys’ fees and expenses, and submission of Claim Forms. Lead Plaintiff

   proposes the following proposed deadlines:




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    Deadline for mailing individual Notices and       Ten (10) business days after entry of the
    Claim Forms (the “Notice Date”).                  Preliminary Approval Order.
    Deadline for publication of Summary Notice        Within 14 calendar days of the Notice Date.
    Deadline for filing motions in support of the     No later than 35 calendar days before the
    Settlement, the Plan of Allocation, and Lead      Settlement Hearing.
    Counsel’s application for an award of
    attorneys’ fees and expenses.
    Deadline for receipt of requests for exclusion    No later than 21 calendar days before the
    from the Settlement Class; or objections to       Settlement Hearing.
    the Settlement, Plan of Allocation, or Lead
    Counsel’s request for an award of attorneys’
    fees and expenses.
    Deadline for filing reply papers in support of    No later than seven (7) calendar days before
    the Settlement, the Plan of Allocation, or        the Settlement Hearing.
    Lead Counsel’s request for fees and expenses.
    Deadline for submission of Claim Forms.           Postmarked or received no later than five (5)
                                                      calendar days before the Settlement Hearing.
    Settlement Hearing.                               At the Court’s convenience, but no fewer than
                                                      ninety (90) calendar days after the date of the
                                                      entry of the Preliminary Approval Order.


   The Settlement Hearing date is the only date that the Court must schedule.

                                            CONCLUSION

          For the foregoing reasons, Lead Plaintiff respectfully requests that the Court issue an order

   substantially in the form of the proposed Preliminary Approval Order: (i) preliminarily approving

   the Settlement; (ii) holding that the manner and forms of notice satisfy due process and provide

   the best notice practicable under the circumstances, and ordering that notice be provided to the

   Settlement Class; (iii) setting a date for the final approval hearing; (iv) appointing A.B. Data as

   Claims Administrator; (v) preliminarily certifying the Settlement Class; and (vi) granting such

   other and further relief as may be required.




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   DATED: June 26, 2020               Respectfully Submitted,

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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on June 26, 2020, I electronically filed the foregoing

   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

   is being served this day on all counsel of record identified on the attached Service List in the

   manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

   or in some other authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic Filing.

                                                  /s/ Cullin O’Brien
                                                  Cullin O’Brien
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